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   1 ALAN M. RITCHIE (298989)

   2
     aritchie@pilgrimchristakis.com
     PILGRIM CHRISTAKIS LLP
   3 321 N. Clark Street, 26th Floor

   4
     Chicago, Illinois 60654
     Telephone: (312) 924-1773
   5 Facsimile: (312) 379-8547

   6
       Attorneys for Defendant
   7 POWERLINE FUNDING LLC

   8
                     IN THE UNITED STATES DISTRICT COURT
   9               FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10                          SOUTHERN DIVISION

  11 MARIANO BENITEZ, individually

  12 and on behalf of others similarly           Case No. 8:19-cv-00098
       situated,
  13                                             STIPULATION FOR EXTENSION
  14               Plaintiff,                    OF TIME FOR POWERLINE
                                                 FUNDING LLC TO FILE ITS
  15         vs.                                 ANSWER TO PLAINTIFF’S
  16                                             COMPLAINT
       POWERLINE FUNDING LLC, a New
  17 York limited liability company,

  18
                   Defendants.
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           STIPULATION FOR EXTENSION OF TIME FOR POWERLINE FUNDING LLC TO FILE ITS ANSWER TO
                                                                      PLAINTIFF’S COMPLAINT
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   1                                      STIPULATION
   2 TO THE HONORABLE COURT:

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             WHEREAS on January 21, 2019, Mariano Benitez (“Plaintiff”) filed a
   4
       putative class action complaint (“Complaint”) against Powerline Funding LLC
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   6
       (“Powerline”) (Dkt. No. 1);

   7         WHEREAS on April 29, 2019, Powerline filed a Motion to Dismiss the
   8 Claims of All Putative Non-California Class Members, or in the Alternative, to

   9 Strike Plaintiff’s Class Allegations for Lack of Personal Jurisdiction (“Motion to

  10
       Dismiss”) (Dkt. No. 28);
  11
             WHEREAS on June 6, 2019, the Court entered an order denying Powerline’s
  12

  13
       Motion to Dismiss (Dkt. No. 33);

  14         WHEREAS Powerline’s answer to the Complaint is currently due June 21,
  15 2019 under Rule 12(a)(4)(A) of the Federal Rules of Civil Procedure;

  16         WHEREAS on June 21, 2019, counsel for Powerline filed a Motion for Leave
  17
       to Withdraw as Counsel (“Motion to Withdraw”) (Dkt. No. 40);
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             WHEREAS Powerline’s Motion to Withdraw is set to be heard on July 5,
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       2019 (Dkt. No. 40);

  21         IT IS HEREBY STIPULATED by and between the parties, through their
  22 respective counsel, that Powerline shall have up to and including July 12, 2019 to

  23 file its answer to Plaintiff’s Complaint.

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           STIPULATION FOR EXTENSION OF TIME FOR POWERLINE FUNDING LLC TO FILE ITS ANSWER TO
                                                                      PLAINTIFF’S COMPLAINT
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   1                                            Respectfully submitted,
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       Dated: June 21, 2019                    Defendant Powerline Funding LLC
   3

   4                                           By: /s/ Alan M. Ritchie
                                                      One of its Attorneys
   5

   6                                           Alan M. Ritchie (298989)
                                               aritchie@pilgrimchristakis.com
   7                                           Pilgrim Christakis LLC
   8                                           321 N. Clark Street, 26th Floor
                                               Chicago, Illinois 60654
   9                                           Telephone: (312) 924-1773
  10                                           Facsimile: (312) 379-8547

  11 Dated June 21, 2019                       Plaintiff Mariano Benitez
  12
                                               By: /s/ Taylor T. Smith
  13                                                  One of his Attorneys
  14
                                               Steven L. Woodrow (admitted pro hac vice)
  15                                           swoodrow@woodrowpeluso.com
  16                                           Taylor T. Smith (admitted pro hac vice)
                                               tsmith@woodrowpeluso.com
  17                                           Woodrow & Peluso, LLC
  18                                           3900 East Mexico Ave, Suite 300
                                               Denver, Colorado 80210
  19                                           Telephone: (720) 213-0675
  20                                           Facsimile: (303) 927-0809
  21                           SIGNATURE CERTIFICATION
  22
             Pursuant to Local Rule 5-4.3.4(a)(2)(i), I hereby certify that Plaintiff’s
  23
       counsel concurs with the content of this document and has authorized me to affix his
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       signature to the document and file the same with the Court.
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                                                      /s/ Alan M. Ritchie
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           STIPULATION FOR EXTENSION OF TIME FOR POWERLINE FUNDING LLC TO FILE ITS ANSWER TO
                                                                      PLAINTIFF’S COMPLAINT
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   2                              CERTIFICATE OF SERVICE
   3
             Alan M. Ritchie, an attorney, certifies that on June 21, 2019, he electronically
   4
       filed the foregoing with the Clerk of the Court by using the CM/ECF system, which
   5

   6
       will send a notice of electronic filing to all attorneys of record.

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                                                        /s/ Alan M. Ritchie
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           STIPULATION FOR EXTENSION OF TIME FOR POWERLINE FUNDING LLC TO FILE ITS ANSWER TO
                                                                      PLAINTIFF’S COMPLAINT
